               Case 1:14-cr-00360-CCB Document 6 Filed 10/21/14 Page 1 of 12

                                                            U.S. Department of Justice
                                                            United Slales Allorney
                                                            Dislricl of Maryland

Judson T. Mihok                                            Suite .f00                    DIRECT: .fIO.209-.f903
Assistallt Ullited States AI/oriley                        36 ~: Charles Street            MAIN: -110.209--1800
JUdSOIl.Afihok@/lsdoj.gol'                                 Baltimore. MD21201.3119          FAX: .fIO-962-0716



                                                                                                                                  0

                                                                                                                      -.=-
                                                                                                                      r--J
                                                            July 30, 2014            CO                               =           -c
                                                                                                                                  <J).




                                                                                     .1X
                                                                                     -<                                           -i<J)
                                                                                                                                  ::0'
                                                                                                                       0          -0
                                                                                                                       n
                                                                                                                       ~
                                                                                                                                  C"">_
Joseph A. Balter                                                                                  ;;';1"1"\
                                                                                                                                   -1<.1>11
                                                                                                        ?J                         0-1-
Assistant Federal Public Defender                                                                                      f')             ::or-
                                                                                                   Clul                            ""-1'1
Tower II, Suite I 100
                                                                                         \         =;.~ -u
                                                                                                                                   ::t:::'o
                                                                                                                                   p
100 South Charles Street                                                                            0..":x                         -0"
                                                                                                                                   '0
Baltimore, Maryland 2 I20 1                                                               cJ        ::D-                              -<c:
                                                                                          rr.        f"l1cJ              r:-?         1-
                                                                                                                                            ::0
                                                                                          ~                   r"':'
             Re:         United States v. Donald P. Blair Criminal No. WDQ 14-0360
                                                                                             c:
                                                                                             -I
                                                                                             -<
                                                                                                                         .-or:-       ~-i
                                                                                                                                      -z.


Dear Mr. Balter:

        This letter, together with the Sealed Supplement, confirms the plea agreement which has
been offered to the Defendant by the United States Attorney's Of11ce for the District of Maryland
("this Office"). If the Defendant accepts this offer, please have him execute it in the spaces
provided below. If this offer has not been accepted by August 19, 20 I4, it will be deemed
withdrawn. The terms of the agreement are as follows:

                                             Offense of Conviction

         1.      The Defendant agrees to plead guilty pursuant to Fed. R. Crim. P. I l(c)(l)(C) to
the Information now pending against him which charges him with Possession of Child
Pornography, in violation of 18 U.S.C. SS 2252A(a)(5)(B) and (b)(2). The Defendant admits
that he is, in fact, gui lty 0 f that offense and will so advise the Court. The Defendant will also
agree to sign a consent admitting the Forfeiture Allegation.

                                             Elements of the Offense

       2.     The elements of the offense to which the Defendant has agreed to plead guilty,
and which the Government would prove if the case went to trial, are as follows:

              a.     That on or about July 8, 2013, in Maryland, the defendant knowingly
possessed a computer hard drive that contained at least one image of child pornography; and

                  b.      That such image or images contained on the hard drive had been
 transported in interstate or foreign commerce, including by computer, or that such image or
 images had been produced using materials that had been mailed or shipped or transported in
 interstate or foreign commerce by any means, including by computer; and
         Case 1:14-cr-00360-CCB Document 6 Filed 10/21/14 Page 2 of 12




              c.      That at the time of such possession the defendant knew that such image or
images contained on the hard drive constituted child pornography.

                                             Penalties

         3.      The maximum sentence provided by statute for the offense to which the
Defendant is pleading guilty (with a qualifying prior conviction for an offense outlined in 18
U.S.C. 9 2252(b)(2)) is as follows: imprisonment for not less than ten (10) years and not more
than 20 years, followed by a term of supervised release of not more than life and a fine of
$250,000. In addition, the Defendant must pay $100 as a special assessment pursuant to 18
U.S.C. 9 3013, which will be due and should be paid at or before the time of sentencing. This
Court may also order him to make restitution pursuant to 18 U.S.C. 993663, 3663A, and 3664.
If a fine or restitution is imposed, it shall be payable immediately, unless, pursuant to 18 U.S.C.
S 3572(d), the Court orders otherwise. The Defendant understands that ifhe serves a term of
imprisonment, is released on supervised release, and then violates the conditions of his
supervised release, his supervised release could be revoked - even on the last day of the term -
and the Defendant could be returned to custody to serve another period of incarceration and a
new term of supervised release. The Defendant understands that the Bureau of Prisons has sole
discretion in designating the institution at which the Defendant will serve any term of
imprisonment imposed.

                 a.     The defendant understands and agrees that as a consequence of his
conviction for the crimes to which he is pleading guilty, he will be required to register as a sex
offender in the place where he resides, where he is an employee, and where he is a student,
pursuant to the Sex Offender Registration and Notification Act (SaRNA), and the laws of the
state of his residence. Failure to do so may subject him to new charges pursuant to 18 U.S.C. 9
2250.

                                         Waiver of Rights


        4.      The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

                 a.     If the Defendant had persisted in his plea of not guilty, he would have had
the right to a speedy jury trial with the close assistance of competent counsel. That trial could be
conducted by ajudge, without a jury, if the Defendant, this Office, and the Court all agreed.

               b.      If the Defendant elected a jury trial, the jury would be composed oftwelve
individuals selected from the community. Counsel and the Defendant would have the
opportunity to challenge prospective jurors who demonstrated bias or who were otherwise
unqualified, and would have the opportunity to strike a certain number of jurors peremptorily.
All twelve jurors would have to agree unanimously before the Defendant could be found guilty
of any count. The jury would be instructed that the Defendant was presumed to be innocent, and
that presumption could be overcome only by proof beyond a reasonable doubt.



                                                  2
         Case 1:14-cr-00360-CCB Document 6 Filed 10/21/14 Page 3 of 12




                c.    If the Defendant went to trial, the government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the government's witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in his defense, however, he would have the subpoena power of the Court to compel the witnesses
to attend.

                 d.      The Defendant would have the right to testify in his own defense if he so
chose, and he would have the right to refuse to testify. Ifhe chose not to testify, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

                e.     If the Defendant were found guilty after a trial, he would have the right to
appeal the verdict and the Court's pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges
against him. By pleading guilty, the Defendant knowingly gives up the right to appeal the
verdict and the Court's decisions.

               f.      By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that he may have
to answer the Court's questions both about the rights he is giving up and about the facts of his
case. Any statements the Defendant makes during such a hearing' would not be admissible
against him during a trial except in a criminal proceeding for perjury or false statement.

                g.      If the Court accepts the Defendant's plea of guilty, there will be no further
trial or proceeding of any kind, and the Court will find him guilty.

                h.      By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status. The Defendant
recognizes that ifhe is not a citizen of the United States, pleading guilty may have consequences
with respect to his immigration status. Under federal law, conviction for a broad range of crimes
can lead to adverse immigration consequences, including automatic removal from the United
States. Removal and other immigration consequences are the subject of a separate proceeding,
however, and the Defendant understands that no one, including his attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. Defendant nevertheless
affirms that he wants to plead guilty regardless of any potential immigration consequences.

               i.      The Defendant has the right to have his case presented to a Grand Jury,
which would decide whether there is probable cause to return an indictment against him. By
agreeing to proceed by way of Information, he is giving up that right, and understands that the
charges will be filed by the United States Attorney without the Grand Jury.

                             Advisory Sentencing Guidelines Apply

       5.       The Defendant understands that the Court will determine a sentencing guidelines.
range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing


                                                  3
         Case 1:14-cr-00360-CCB Document 6 Filed 10/21/14 Page 4 of 12




Reform Act of 1984 at 18 U.S.C. ~~ 3551-3742 (excepting 18 U.S.C. ~~ 3553(b)(I) and 3742(e»
and 28 U.S.C. ~~ 991 through 998. The Defendant further understands that the Court will
impose a sentence pursuant to the Sentencing Reform Act, as excised, and must take into account
the advisory guidelines range in establishing a reasonable sentence.

                         Factual and Advisory Guidelines Stipulation

        6.      This Office and the Defendant understand, agree and stipulate to the Statement of
Facts as set forth in Attachment A hereto which would be proved beyond a reasonable doubt and
to the following applicable sentencing guidelines factors:

               a.      The base offense level is eighteen (18) pursuant to USSG ~2G2.2(a)(l).

               b.      Pursuant to USSG ~2G2.2(b)(2), there is a two (2) level increase because
the offense involved a prepubescent minor.

               c.      Pursuant to USSG ~2G2.2(b)(2), there is a two (2) level increase because
the offense involved the use of a computer.

               d.     Pursuant to USSG ~2G2.2(b)(3)(B), there is a five (5) level increase
because the offense involved distribution for the receipt or expectation of receipt of a thing of
value.

               e.     Pursuant to USSG ~2G2.2(b)(7)(B), there is a three (3) level increase
because the offense involved at least 150 but less than 300 images of child pornography.

                f.      This Office does not oppose a two-level reduction in the Defendant's
adjusted offense level, based upon the Defendant's apparent prompt recognition and affirmative
acceptance of personal responsibility for his criminal conduct. This Office agrees to make a
motion pursuant to USSG Pursuant to USSG ~3El.1(b) for an additional one-level decrease in
recognition of the Defendant's timely notification of his intention to plead guilty. This Office
may oppose any adjustment for acceptance of responsibility if the Defendant (i) fails to admit
each and every item in the factual stipulation; (ii) denies involvement in the offense; (iii) gives
conflicting statements about his involvement in the offense; (iv) is untruthful with the Court, this
Office, or the United States Probation Office; (v) obstructs or attempts to obstruct justice prior to
sentencing; (vi) engages in any criminal conduct between the date of this agreement and the date
of sentencing; or (vii) attempts to withdraw his plea of guilty.

               g.      Thus the adjusted offense level is 27.

               h.      The parties further stipulate and agree that the Defendant has a qu~lifying
prior conviction for an offense outlined in 18 U.S.C. ~ 2252(b)(2), resulting in a statutory
mandatory minimum of 10 years imprisonment.

       7.       The Defendant understands that there is no agreement as to his criminal history or
criminal history category, and that his criminal history could alter his offense level ifhe is a


                                                  4
         Case 1:14-cr-00360-CCB Document 6 Filed 10/21/14 Page 5 of 12




career offender or if the instant offense was a part of a pattern of criminal conduct from which he
derived a substantial portion of his income.

        8.      This Office and the Defendant agree that with respect to the calculation of the
advisory guidelines range, no other offense characteristics, sentencing guidelines factors,
potential departures or adjustments set forth in the United States Sentencing Guidelines will be
raised or are in dispute.

                       Obligations of the United States Attorney's Office

        9.      The parties stipulate and agree that, pursuant to Federal Rule of Criminal
Procedure II(c)(I)(C), a sentence often years (120 months) imprisonment in the custody of the
Bureau of Prisons is the appropriate disposition of this case. This agreement does not affect the
Court's discretion to impose any lawful fine or to set any lawful conditions of supervised release.
In the event that the Court rejects this plea agreement, either party may elect to declare the
agreement null and void. Should the Defendant so elect, he will be afforded the opportunity to
withdraw his plea agreement pursuant to the provisions of Federal Rule of Criminal Procedure
I I(d)(2)(A). Should the Government so elect, it will be afforded the opportunity to proceed on
all counts of the Indictment.

        10.    As stated above, at the time of sentencing, the United States Attorney's Office
will recommend a sentence of 10 years (120 months) imprisonment and a period of at least 5
years and up to a lifetime peri~d of supervised release.

        II.    The parties reserve the right to bring to the Court's attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant's background, character and conduct, including the conduct that is the subject of the
counts of the Indictment that this Office has agreed to dismiss at sentencing.

                                         Waiver of Appeal

        12.   In exchange for the concessions made by this Office and the Defendant in this
plea agreement, this Office and the Defendant waive their rights to appeal as follows:

              a.      The Defendant knowingly waives all right, pursuant to 28
U.S.C. ~ 1291 or otherwise, to appeal the Defendant's conviction;

                b.        The Defendant and this Office knowingly waive all right, pursuant to 18
U.S.C. ~ 3742 or otherwise, to appeal whatever sentence is imposed (including the right to
appeal any issues that relate to the establishment of the advisory guidelines range, the
determination of the defendant's criminal history, the weighing of the sentencing factors, and the
decision whether to impose and the calculation of any term of imprisonment, fine, order of
forfeiture, order of restitution, and term or condition of supervised release), except as follows: (i)
the Defendant reserves the right to appeal any term of imprisonment to the extent that it exceeds
10 years (120 months); (ii) and this Office reserves the right to appeal any term of imprisonment
to the extent that it is below 10 years (120 months).


                                                  5
         Case 1:14-cr-00360-CCB Document 6 Filed 10/21/14 Page 6 of 12




        c.      Nothing in this agreement shall be construed to prevent the Defendant or this
Office from invoking the provisions of Federal Rule of Criminal Procedure 35(a), or from
appealing from any decision thereunder, should a sentence be imposed that resulted from
arithmetical, technical, or other clear error.

        d.       The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

                                        Court Not a Party

         13      The Defendant expressly understands that the Court is not a party to this
agreement. The Defendant understands that the Court is under no obligation to accept this plea
offer made pursuant to Rule II(c)(I)(C). If the Court rejects this plea agreement pursuant to
Rule I I (c)(5), then the Court will give the Defendant an opportunity to withdraw his plea. The
Defendant understands that neither the prosecutor, his counsel, nor the Court can make a binding
prediction, promise, or representation as to whether the Court will accept the plea agreement, and
that the Court will only make the final determination on whether to accept or reject the plea
agreement at the sentencing hearing. The Defendant agrees that no one has made a binding
prediction or promise that the Court will accept the plea agreement.

                                             Forfeiture

        14.    The defendant agrees to forfeit all right, title and interest in the property seized by
law enforcement from his residence on July 8, 2013, including, but not limited to: one Hitachi
hard disk drive (sin GEK333RC3LG 1ZE); one Hitachi hard disk drive (sin X6GAA W8F); one
Western Digital hard disk drive (sIn WD-WMADIH267226); one Ativa USB flash drive (blue in
color); one Sandisk USB flash drive; one PNY Attache USB flash drive. The defendant agrees
to take whatever steps are necessary to pass clear title to those properties to the United States.

                             Obstruction or Other Violations of Law

         15.     The Defendant agrees that he will not commit any offense in violation of federal,
state or local law between the date of this agreement and his sentencing in this case. In the event
that the Defendant (i) engages in conduct after the date of this agreement which would justify a
finding of obstruction of justice under USSG '3C 1.1, or (ii) fails to accept personal responsibility
for his conduct by failing to acknowledge his guilt to the probation officer who prepares the
Presentence Report, or (iii) commits any offense in violation of federal, state or local law, then
this Office will be relieved of its obligations to the Defendant as reflected in this agreement.
Specifically, this Office will be free to argue sentencing guidelines factors other than those
stipulated in this agreement, and it will also be free to make sentencing recommendations other
than those set out in this agreement. As with any alleged breach of this agreement, this Office
will bear the burden of convincing the Court of the Defendant's obstructive or unlawful behavior
and/or failure to acknowledge personal responsibility by a preponderance ofthe evidence. The



                                                  6
         Case 1:14-cr-00360-CCB Document 6 Filed 10/21/14 Page 7 of 12




Defendant acknowledges that he may not withdraw his guilty plea because this Office is relieved
of its obligations under the agreement pursuant to this paragraph.

                                            Restitution

          16.    For purposes of sentencing, the offense of conviction constitutes a crime of
violence pursuant to 18 U.S.C. 9 16. Therefore, under 18 U.S.C. 99 3663A, 2259, and 3771,
any identified victim is entitled to mandatory restitution. The restitution could include the
medical bills, compensation for time missed from work, as well as counseling costs (including
travel) for any of the victims related to the incident, if any such costs exist or are reasonably
projected. 18 U.S.C. 99 2259, 3663A(b)(2) and (4). The Defendant further agrees that he will
fully disclose to the probation officer and to the Court, subject to the penalty of perjury, all
information, including but not limited to copies of all relevant bank and financial records,
regarding the current location and prior disposition of all funds obtained as a result of the
criminal conduct set forth in the factual stipulation. The Defendant further agrees to take all
reasonable steps to retrieve or repatriate any such funds and to make them available for
restitution. If the Defendant does not ful1m this provision, it will be considered a material breach
of this plea agreement, and this Office may seek to be relieved of its obligations under this
agreement. Defendant understands that an unanticipated amount of a restitution order will not
serve as grounds to withdraw Defendant's guilty plea. If the Defendant is incarcerated, the
Defendant agrees to participate in the Bureau of Prisons Inmate Financial Responsibility
Program.

                                        Entire Agreement

         17.     This letter supersedes any prior understandings, promises, or conditions between
this Office and the Defendant and, together with the Sealed Addendum, constitutes the complete
plea agreement in this case. The Defendant acknowledges that there are no other agreements,
promises, undertakings or understandings between the Defendant and this Office other than those
set forth in this letter and addendum and none will be entered into unless in writing and signed
by all parties.

       If the Defendant fully accepts each and every term and condition of this letter, please sign
and have the Defendant sign the original and return it to me promptly.

                                              Very truly yours,

                                              Rod J. Rosenstein
                                              United States Attorney



                                                     T. Mihok
                                                                  ?1L-,
                                                     nt United States Attorney




                                                 7
         Case 1:14-cr-00360-CCB Document 6 Filed 10/21/14 Page 8 of 12




       I have read this agreement and carefully reviewed every part of it with my attorney. I
understand it, and I voluntarily agree to it. Specifically, I have reviewed the Factual and
Advisory Guidelines Stipulation with my attorney, and I do not wish to change any part of it. I
am comp tely satisfied with the representation of my attorney.


                                                1f~(1g~
                                             Donald P. Blair


        I am Donald P. Blair's attorney. I have carefully reviewed every part of this agreement
with him. He advises me that he understands and accepts its terms. To my knowledge, his
decision to enter into this agreement is an informed and volun     one.


~~7-1l91L/
Date




                                                8
         Case 1:14-cr-00360-CCB Document 6 Filed 10/21/14 Page 9 of 12




                                         ATTACHMENT A

         The undersigned parties hereby stipulate and agree that if this case had proceeded
to trial, the government would have proven the following facts beyond a reasonable doubt.
The undersigned parties also stipulate and agree that the following facts do not encompass
all of the evidence that would have been presented had this matter proceeded to trial.

        On or about June 15,2006, Donald P. Blair (BLAIR), born in 1958, was convicted upon

his plea of guilty to Possession of Child Pornography and sentenced to one year of incarceration

(suspended), to be followed by three years of supervised probation in the Circuit Court for Anne

Arundel County.    See Case No. K-06-452 IF. .-Ais1&df;~11•••~ielitiiblw~                     was   ~S>
    1                    e          r.                                                           ~

        In 2013, HSI New Orleans commenced an investigation into an email account that was

sending and receiving child pornography.    A search warrant served on that account in 2013

showed stored messages, in particular, emails on December 5, 2012 to an individual utilizing the

email account kgadm@yahoo.com with the screen name/moniker "donald blair."          Records

showed that on December 5, 2012 at 11:04:54 PST (14:04 EST), the individual utilizing the

email account kgadm@yahoo.com with the moniker "donald blair," and the IP address

96.244.135.92, sent sgsg569@gmail.com an email which contained approximately 20 images,

which included images of children engaged in sexually explicit conduct.    By way of example,

four of these images are described as follows:

        Tar&Long092.jpg - This image depicts two minor males with their genitals exposed.

One minor male with his right hand on his erect penis and his left hand on the buttocks of the

second minor male is kneeling between the legs of the second minor male and appears to be

preparing to anally penetrate the second minor male.
           Case 1:14-cr-00360-CCB Document 6 Filed 10/21/14 Page 10 of 12




       rp(209).jpg - This image depicts a prepubescent male wearing only a blue and white shirt

and is lying on a mattress with no sheets.    The minor male's right hand is holding his erect

penis that is exposed to the camera.

           I282032949995.jpg - This image depicts a nude pre-pubescent male lying on his back

with his hands above his head.      The prepubescent male's penis is erect and exposed.

       rp(2l1 ).jpg - This image depicts four minor males.      Three males are standing and their

penises are exposed.      One minor male is kneeling in front of a minor male that is standing.

The minor male that is kneeling has his right hand on the penis of one of the minor male's that is

standing and his mouth on the erect penis of the minor male that is standing in front of him.

       Additionally, the individual using the email address kgadm@yahoo.com wrote the

following in the body of the email to sgsg569@gmail.com along with the above referenced

images: "Sorry so long reply.      Went in hospital last week just got out 2pm yesterday.   H~pe

you enjoy these ... all got from niceviewclub!    They also have video clips!   Can send you link

next time if can find."

           The individual utilizing email address sgsg569@gmail.com sent a reply email to

kgadm@yahoo.com which read, "Thanks donald. Pictures were great. Hope hospital wasn't too

serious.     Can you send link please?    I'd love some vids or clips or something.   I do have more

to send as well.     Thanks"    In other email exchanges between these two email accounts the

individual utilizing the email sgsg569@gmail.com sent child pornography to BLAIR at his email

address kgadm@yahoo.com.

           The IPA responsible for sending the images utilizing the email account

kgadm@yahoo.com with the moniker "donald blair" resolved to a Verizon Internet Solutions

customer and the name on the account was Donald P BLAIR, 231 Patapsco Av., Dundalk, MD


                                                   2
         Case 1:14-cr-00360-CCB Document 6 Filed 10/21/14 Page 11 of 12




21222.    After further investigation, a search warrant was served on that residence on July 8,

2013.    Pursuant to that search warrant, agents seized one Hitachi hard disk drive (sIn

GEK333RC3LGIZE); one Hitachi hard disk drive (sin X6GAAW8F); one Western Digital hard

disk drive (sIn WD-WMAD IH267226); one Ativa USB flash drive (blue in color); one Sandisk

USB flash drive; and one PNY Attache USB flash drive.        These items depicted images of

minors engaged in sexually explicit conduct.     While some of the computer equipment that

contained child pornography was Richard LOFTICE's, who was BLAIR's half-brother and

roommate, BLAIR did knowingly possess 288 images of children engaged in sexually explicit

conduct on an HP Pavilion Slimline desktop computer (sIn MXV91406G5), with Hitachi hard

drive (sIn GEK333RC3LG 1ZE), including, but not limited to, files with the following titles:

"Pedo little boy(1 ).jpg", an image file that depicts a prepubescent male with no pants on, wearing

a red shirt and sitting in the back seat of a vehicle with his penis exposed and erect; "Pi05.jpg",

an image file that depicts a naked prepubescent male lying on his side with his legs spread and a

naked adult male lying behind the prepubescent male with the adult male's erect penis

penetrating the prepubescent male's anus; "Pedo Gay-7yo - 5yo Boys.jpg", an image file that

depicts two naked prepubescent males with one prepubescent male is performing oral sex on the

other prepubescent male; and

"zadoom-pedo _rizmastar _kdvJbv -preteen_boys _7yo_6yo(02.2005new).jpg", an image that

depicts to naked prepubescent boys standing next to each other and each of the boys has their

hand on the other boy's penis.

         The depictions included images of prepubescent children (under the age of 12) engaged

in sexually explicit conduct.    These images had been downloaded from the internet, so they

traveled in and affected interstate and foreign commerce.


                                                  3
        Case 1:14-cr-00360-CCB Document 6 Filed 10/21/14 Page 12 of 12




        I have read this statement offacts, and carefully reviewed it with my attorney.   I

acknowledge that it is true and correct.

c:(
 71,;
Date
                                           lIJIl! ~
                                       DONALD P. BLAIR



        I have reviewed this statement offaets with my client, Donald P. BLAIR.      He confirms

that this is a true and accurate statement of the fae.tsthat the Government would be able to prove

in the case had the matter proceeded to trial.   He voluntarily and knowingly agrees with this

recitation of facts.



'tu7 2tJ '1
  ate
                  f




                                                  4
